Case 04-29642   Doc 1   Filed 08/10/04 Entered 08/10/04 15:57:53   Desc Petition
                                  Page 1 of 22
Case 04-29642   Doc 1   Filed 08/10/04 Entered 08/10/04 15:57:53   Desc Petition
                                  Page 2 of 22
Case 04-29642   Doc 1   Filed 08/10/04 Entered 08/10/04 15:57:53   Desc Petition
                                  Page 3 of 22
Case 04-29642   Doc 1   Filed 08/10/04 Entered 08/10/04 15:57:53   Desc Petition
                                  Page 4 of 22
Case 04-29642   Doc 1   Filed 08/10/04 Entered 08/10/04 15:57:53   Desc Petition
                                  Page 5 of 22
Case 04-29642   Doc 1   Filed 08/10/04 Entered 08/10/04 15:57:53   Desc Petition
                                  Page 6 of 22
Case 04-29642   Doc 1   Filed 08/10/04 Entered 08/10/04 15:57:53   Desc Petition
                                  Page 7 of 22
Case 04-29642   Doc 1   Filed 08/10/04 Entered 08/10/04 15:57:53   Desc Petition
                                  Page 8 of 22
Case 04-29642   Doc 1   Filed 08/10/04 Entered 08/10/04 15:57:53   Desc Petition
                                  Page 9 of 22
Case 04-29642   Doc 1   Filed 08/10/04 Entered 08/10/04 15:57:53   Desc Petition
                                  Page 10 of 22
Case 04-29642   Doc 1   Filed 08/10/04 Entered 08/10/04 15:57:53   Desc Petition
                                  Page 11 of 22
Case 04-29642   Doc 1   Filed 08/10/04 Entered 08/10/04 15:57:53   Desc Petition
                                  Page 12 of 22
Case 04-29642   Doc 1   Filed 08/10/04 Entered 08/10/04 15:57:53   Desc Petition
                                  Page 13 of 22
Case 04-29642   Doc 1   Filed 08/10/04 Entered 08/10/04 15:57:53   Desc Petition
                                  Page 14 of 22
Case 04-29642   Doc 1   Filed 08/10/04 Entered 08/10/04 15:57:53   Desc Petition
                                  Page 15 of 22
Case 04-29642   Doc 1   Filed 08/10/04 Entered 08/10/04 15:57:53   Desc Petition
                                  Page 16 of 22
Case 04-29642   Doc 1   Filed 08/10/04 Entered 08/10/04 15:57:53   Desc Petition
                                  Page 17 of 22
Case 04-29642   Doc 1   Filed 08/10/04 Entered 08/10/04 15:57:53   Desc Petition
                                  Page 18 of 22
Case 04-29642   Doc 1   Filed 08/10/04 Entered 08/10/04 15:57:53   Desc Petition
                                  Page 19 of 22
Case 04-29642   Doc 1   Filed 08/10/04 Entered 08/10/04 15:57:53   Desc Petition
                                  Page 20 of 22
Case 04-29642   Doc 1   Filed 08/10/04 Entered 08/10/04 15:57:53   Desc Petition
                                  Page 21 of 22
Case 04-29642   Doc 1   Filed 08/10/04 Entered 08/10/04 15:57:53   Desc Petition
                                  Page 22 of 22
